Case 1:25-mj-00016-GMH Document1 Filed 01/22/25 Pagelof1

AQ 442 (Rev 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the Case: 1:25-mj-00016

Middle District of Florida Assigned To : Judge G. Michael Harvey
Assign. Date : 01/22/2025
Description: RULE 5ARREST WARRANT

United States of America

“ )
) Case No. §:24-cr-41- 17> PL
DANIEL CHARLES BALL )
)
)
)
Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) DANIEL CHARLES BALL
who is accused of an offense or violation based on the following document filed with the court:
© Information © Superseding information O Complaint

@& Indictment © Superseding Indictment
O Violation Notice O Order of the Court

O Probation Violation Petition © Supervised Release Violation Petition

This offense is briefly described as follows:

99st er ee bay,

eee DISTA:...

a
a
é Boor eer tee:

i

eeeterson, |

« UN;

Clete

officer} signature

Date: 08/ 06/2024

e
oF
o

fenie 4
i say
re f
*e a in A a é 2 Issut
y “e

se

: ‘e O, aoe oot -

Ocala, Florida ° Ak se ses > eee WARREN, Clerk, United States District Court
Printed name and title

City and state: .

Return

Ol {ZO24____, and the person was arrested on (date) _| {22/2025

keenlez [2-2

Date: 2/202 ’
"Arresting officer’s signature

jeag been. Bredz. Deputy Unidtel Sdeten Moshe/

Printed itle

This warrant was received on (date)
at (city and state) i Cc

